` Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 1 of 23 Page|D #:8809 __Q%

    

UN}\"I`E|_) S'|`;*\'I`ES DISTRICT C.'K`JUR'["
N(_`JR'I.`}.-IITLI`LN DFS"I`E`H{'_`.'Z` OF !LLI_N(`_`)IS
EAS'J`\[':`,R"N I_JW 1551ij
NEL|']'RAI.. 'i`.f\.NDI§§M, INL:`_,
i"’lnintil.`!`,
v.

PEER`L‘ESS `NE.Z"I`WORK., LLC; .PEER`LESS NH'I`WC)R}~C

(.')F 11..-I.IN(`.)`]S__ L[-(`_`\`;_ and JCIjl~lN .IBAI{N[CLE, Nci. 1313 C 3402

Dc:!i'.:ndants. lodge John W_ [)rin`nh

Fll‘i|:.‘lRl.liS§:` Nl:`,'l`W(.) RK, LLC; PEERLESS NE'I"WORK.
OF ILLFNOIS, |.L(.'l; and bi{;`)i-i'l‘~! HARNICLE,

Connt€:rclnim Plnii'ilifl':~i5
v_

Nl`i`l}'f`RAI. 'i"A`ND`E}@/I, INC..,

C`,onnlei‘clnim .D~.`:fcndi`int,

M_.P§Mif;!_!i=£’!i..i!_l_!.lli)il_Qj[f`...!._.l"ilfli§!'_&l§i!l_Q_L.R!i§_!i
Plz-iintii'?f.", Nentn-i| 'I`nnclem, I.nc, (‘*N'l""), bro'i:ignt suit ngninnt Dc:i'nndniins,

l’c:ei'l€$:a Ne:`[wm"k, LI..-C; 'Pee:rie;:a.~'; Ni.:lwurk f_\)fl'il‘i.n<_iis, `LLC; and Jnhn Bm'nicle (colle<:tiv£'.ly,

“P¢c:rlnsss“}, alleging infringement nf`N"l"S U.S. anni Nn. ?,-123,?03 (“thc ‘708 Pntcnt”)_ 'l`hi:

C<Jul'l l'ic:ld hi':zu'ings on c_‘lnin'l:; :Lil‘lstru£:tii;).n and NT"S motion i`nr n preliminary injunction on

NC)\:L‘,niiJi:i‘ 19, 2|`_)4}9 nmi i'_n`l Nnvc.'i'iib&i‘ 30 through Dc':¢r.';n'il)<:r l, EUUQ, rc-Spl;:clivnly. (')n

li`c:l)runry S_. 201 (), the C`,nnrt mailed n {\/.{f.:nn;n'ainclinn (_`)pinion and C)rder construing the claims 0'1`

lhc-; °'FOB i"ntent_ 'l`h<: Cmn'i nnw rules nn NT’S motion f`nr :-i prcliinini:n'_\f injunction 113 fOlIOW:'.~'.

 

. CaSe: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 2 of 23 Page|D #:8810

'l`lic 'L`otit'l halt crin:-;iclct'cti tlic cvit'_lcnct:, inolutiing§tiic written dcclnrati.on.'s ttntl tcstiniony
oftl‘ic wit:tct;£a:a fint:lucling expert \t'itno:i:to:`;') and cxliibits, and has further Con.‘i~'it']c.rctl tltc
proposed tintiitig$ of` facto and conclusions ot` lnw', thc Writtcn arguments auliniittcti by countst
for thc portion tlncl tl'ic authority cited tlit:n-:in_ `i`hc ('_iol_n.'t weighed thc testimony oi` each witncs.‘.t
and dctctn)inct't Wlicthnr tlic testimony was truthful and accurate (in part, in whole1 or not at ali)
and dccitico what wci;_zltt, if any, tn gch tn thc testimony o't` cacli witnc$a. ln making thin
détcrn'tinntit_'in_, tltc Cotn't considat'cd, among othct' tlt.i.ng$: the al'_?rili't}r and opportunity tl‘ic Witncss
liat;l to acc, hcar__ or know thc thirth about Wliicli the Witnc‘ss tcatifit:(i; thc witncs$'$ mcmotj{; any
ititcrcst` bias or prejudice the witness may havc; thc Witncss'a intelligence', thc manner of thc
witnca$: while tastii`ying; and thc rcaconal)lancsc t)i` thc witnc.\ia's tcstimony in light oi`ali of thc

evidence in thc ctiSo. Set? l"`oti. Civ. .lnt'_'y' instr. `Ytli Cir_ § l . 13 {2009].

 

 

Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 3 ot 23 Page|D #:8811

HAL'K(_}I`{()UNI) 1"¢\€'1`5=
l'i'hc `7()§"§ l"atent concerns thc routing oi't'elccontniindications traffic in thc Puhlic
tiwitched `l`eiephonc l\‘etworlt (*“PS'I"N"`). 'l`he li’S"`I'N` is the world wide collection oi`
interconnected public telephone netwt.irlcs that ths originally designed ;:trimaril},l t`or Voice ttal"iic.
`l*‘or purposes ot` this inetion._ the I’S'il-l is composed ot` transport elements and switching
elements 'l"ransport circuits carry trailic front otte location to another\ Switehing facilities allow
for connections between multiple users without the need to establish a dedicated transport circuit

between each pair ot`eornrno.nicating partners Without switches, each end user (`i.e., each

 

'This case presents the use ot` several technical termsh Althoogh each will he defined as
they appear in the opinicntl the following giossary is included i`or conveniences

- LEC Local `E)tchantte tlartier. A company providing local phone
services

- i.LEC incumbent Lot:al ll'itclntnge Ca_nier. n local telephone company
that was in existence at the time ot` the hrealtop oi.`"r‘t'l`&"l`.

' Ril»t.`l(_l l{etj,ional Bcll t)perating Co:npany_ RBOCIs, also known as “Behy

l'_ieils," were created by the breakop ot` A'l`&'l` in 1934 and inherited
the local telephone services oi` A."l"&"l". i`-`or purposes ot` this arden
the tennis `i~tBt_lC,`, lL.EC and LEC will he used interchangeably

- CLEC Competitive I.,ocal Exchange Carricr_ A carrier that provides local
phone services in competition with the ILEC_

- lX`t`.` interexchange carrier. n long distance carrier.

- PS'l`l‘~l l’nhlic Switehed 'l`elcphone Networlc. `l`lte worldwide collection ot`

intercotniected telephone octworl<s, Whieh was designed primarif;~t
t`or voice trai`tic.

- `[i/-\."i"A l.,oeall Aceess and Transpon Area, r-\ particular geographic arca,
identified by a 3"t'iii-:r,itnt_tniherl1 covered by one or more l..,l:_i(`:fs.
L‘lntra.l.i¢-‘\`l`!'-'t"` r'et'et‘s to connections made between two local
exchanges within the same L/‘t'l`/lt_ “l'ntct‘l../\'i`/lt"` refers to tt
ct_trn'tcction between a carrier in one li..$t'l".'*\ to a carrier in another
lsi"i.'i`A ----- essentially, a long7 distance call_ lli"he `?US Patent concerns
l`ntral;.~“\'l`!\ ealls.

¢ Cr\.l‘§i Cornpctitive Ftccess Providers.

- l'i"‘ littct'nct Proiocol. /\ transmission protocol for the transmission ol`
data,

'.}."

 

 

|
Case: 1:08-Cv-O3402 Document #: 225 Filed:iO3/30/10 Page 4 ot 23 Page|D #:8812

teleplionc) would have to be eoniit~.ctet'i via a dedicated line to every other end user. ns the
october ol` users connected to thc network grows, a non-switched network quickly becomes
ptoliibitiseisl inc t`tic-iciit and expensive Altet'nativcly_, ea.cli. end user can tria.lte a single
connection to a switch 'l`he switch then makes the desired connection between any two end

users when a call is placcd.

h

i

3

gun .,-"

___-
""'*--._

c/<c
nn

i-itm_ swan twa er. magic Swi.lcl~ied Het'work

 

 

M

 

 

 

tn the l~’&i'l"tl, certain switches are not connected to end users hut, ratlter, only to other
switchesl 'i`licsc switches, rtcnerall;t»1 referred to as “taitdcnn" switchcs, retire trat`tie between other
switci'ics.

i iistorict-illy, the architecture ot` the l’E'-l‘l'l`€ in the tinited Slates was managed by the
i"ot'nicr rlt'l`cl’c"l' monopoly Tlie s_~.-'steni was set tip in a hierarchy with end tiscrs at the bottom

lc\'cl_ Each end user was connected tlircctl_V to an “cnd of`iicc,” also l<_no‘wn as a “Class ii

 

 

Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 5 of 23 Page|D #:8813

switch_"` tn gt=:nt=:t'al1 local calls would be rooted litem the end user initiating t.itc. call through tile
end t.rl`.l'ice/'tf.`lass 5 switch to the end user receiving the eall. lll'yt‘iict-ill§r_. long distance calls would
need to be routed lin'tl'icr up the ltit:rtu.'ehj,,l to tandem switches C_`flass ~'l switel}e's, the tandem
switches one level on, would route calls t`t'otn one Ciass ii switch to another. in general, the
longer the distance a call traveled the higher nn the switching hierarchy it wt_'ruid movc,
proceeding to tl?lass 3, C?lass 2, and Class l switches, as necessary

l\»lonopoly ownership ot` this hierarch;.,r was broken up by the A"l`&'l" divestiture l_it`t`eetive
.lanuary l , l'~}'l>`¢l, ,»‘-\t’.l`t'e”l"s local operations were split off into seven independent “"Baby Bclls,”
also called Regional lsell Gperating Cotnpanics (“ltl:lt)tffs"`}.2 lJi'vcstiture split the network
between the (`.`lass 4 and Class 3 levels AT&`I` was left with the long distance portion of the
network the t_`.lass 1~3 stil.'itehesl l`l.`he RBDCs took control ot` the local portion of the network -
the t.._Tlass 4 and 5 switches. as Well as the facilities used to ct')n.neet to individual end users oftl'le
network_

li`ut'ther changes to the telecomniunications ltuidsc.ape occurred in the mid 19905. Fl`he
ll`ele<.‘,on'unttnications Act ol` 1996 allowed the creation ofCLECs, carriers that provide local

phone service in eontpetition With tile l~’t.ll(')(i'fs.

 

"l"ot‘ purposes o't` this order, the tertii Rl?»(iil{.`j' will he considerer.l ec.}uiva|e'nt to “l.L.l_i{_f""
{lneun'ihent l'.ecal |#`.Nchange ti_`..'-u'ricr}. l'&li_’»l:lt'.`. or ll..l".‘t'_l may also he equivalent to hl_,i;it_l"` {l...oeal
lischangc tfarrier] When discussing the telceotr'trnunieatinns industry before il?‘.`tti. 'l`lte
Telceon'trnunications Aet oll' 1996 allowed tt'.)r lite creation ol' "`Cl_l§(_`.s°` [Cnnipetitive leoeal
Exeliange Carricrs`), therebyr necessitating the distinction between those that were preexisting
{bet`ore divestittire`) or "inctinihent" and those that were the newly l`orrned competitors ol" those
incumbent l'.l."'lt:ls.

'Ji

 

. Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 6 of 23 Page|D #:8814

')"l're `?`l)o‘ Pn!ent

'l"`hc network described in the ‘703 .l-"‘atent concerns the efficient routing ot`rransit tral`lie.
`l"‘ransit tral`t`ic is tratl:ic between two tcleeem.nnielection carriers that is carried by a third carrier
l-listorically. carriers h:we relied on the `l?clil(_`lt_,‘s’ networks to carryr transit traffic between thern.
li`or example il a Spt'i.nt customer in Chicago placed a call to a Cotncast customer in tlfliicago, the
two carriers would rer on the local l`t_llUC. l llinois llell/Ameriteeh, to connect tipton and
Comcast to complete the call_ rl`hc portion ol‘h the call carried on the i{BOC network is transit
trttl`lic.

'l`he ‘703 Patent notes several problems occasioned by use ot'the RBOC networks l`or
transit t'raf`l`tc. l`"irst, R.BOCS compete with other carriers for telephone subscribers 'l"hi'ls, non~
RBOC carriers were required to usc a competitor’s network and payr the Rl:ll:]t.'l competitor l`or
use ot` that networkd Furthemiore, the ltt`lt_`lt_`?s lacked incentive to improve service to the
competitive carriers1 l'or exarnple, by upgrading to new technology l"'innlly, a competing carrier
cannot access an RBOC’s network at a single poinl'. l{ather. a competitive carrier must install a
connection to every tandem switch in the l{l_?t;l('_`,`s network Figttrc 9 from thc ‘?l)S Pate:rit

illustrates the necessaryr connectit')ns:

 
   
   
     

. CaSe: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 7 ot 23 Page|D #:8815

A.mcrilecll LATA 357 Thnddra Tnmlting R.¢rqttiram¢ltt.c

lp¢“m}'l mm tandem
ltlnr!h`hrcoi} "l'l'c B'l'rttt.‘:hcs

morton 2 mm Tu-:Iem
flawed he attaches

 
   
 
 
 

tuitionng knew fonda-m
fhgrin.gc,'| fm kitchen

    
 
    
 
 
 

tocatlouH occurs redeem
larue-seat stem switch

 
 

"""". taut.` E~Lcem 't'nnde'm
f (Stcurt E‘lin¢h $-nt'l:eh Hnivnrtr

 
         
      

_' consumer
mmk.e'landcm

 
 

iii xii :: ;."”:::_ JB_§E] tip Erv,mir hat hudson

 

  

M-:§§'EUM amc an harlem z H/§'. §
...... _t......c.._`l`.:\ni` trace so random l mw m

F`igttre 9 displays competitive carriers (CLF,C$, cable carriers. wireless caxTierS, L"(Cs] and
ILECs), shown on the lct"t, each connecting to the tandem switches of the RBOC,`, shown on the
right As t"igurc ?) illustrates, each carrier trtttst connect to all ol`the RBOC’s tandem switches
within the loo/cal Access and Transport Area (“`l..At'l`t‘!t"`,t.4

Thc network described in the ‘703 Patent, the Neatrai Tatndent Network ("‘N']`N"),
provides carriers with an alternative to the RBU(_`. network. Thc NTN provides carriers with a

sin' le ‘.oint ol`l'aeccss, as shown in l?i jrare l `l trent t.lte `703 Patcnt.
§ l la

 

‘°An IXC_H or “lntere>:chage t_`.`.to-rier,"’ is a long distance carrier, e.g. hiC-l.

".»`t li.,rit'l'/\ is a particular geographic arca, identified lay a B-digit nttml:ter1 covered by one
or more local exchange can-icra "I_ntratin`”t`.~'t“ refers to connections made between two local
exchanges within the same LA']`A. “lnterI.ATA" refers to n connection between n carrier in one
l.A'I'A to a carrier in another LA'I`A cssentially, a long distance call. Thc ‘?l.lll F'atent concerns
`lntraL!t`l"A calls.

1 Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 8 of 23 Page|D #:8816

K`EL`E§""§

(L‘Gustomer
lletworl<
\.....i`_`,,.-._..»""

Cua Lomc r
Hel.work

 
   

#\J`:lr.'l`ih?\':h L.-’LTA 357 T-;\mii:l[i T:'i.lnl;ing chiiir»<:rne:ril.s

CLEC

Clnss 4le

 

i-

ill

 

 

 

  

 

Nl: qunl Tnndem Nelwc>rlc

 

 

 

 

 

l_lll

l,o¢i$ilu;i#l Ac‘.ceils T¢'.t.ndem
lNorlhbrouk) ‘l"im iiwilc'nes

I.mi\Li`on§E heel-ss Tandeui
{Waba:h} 'l’vm Sw'il,ches

mcalloni(l fmcc-ss Tandero
(L»grangel m wishes

location 4 Accns.-; Tandcm
(Ncwc:m£e) S`m_glc'. 316th

mendoza 5 mesa “l‘and¢m
{Stnmrt -“:`irig]e Svn`tch

nigh vaium¢ can fn j
L‘hokr_'- ’l'ofidem
Dp Srv,-”Dir mt Ton»:lum

HBDC 911 T¢mdem 2

HBUC Ull TEndem 1

"l'l‘ii': NTN provides other ildvimlzig+.'::l river the RBOC`, network 'l`hi: NTN allows Ci`ii'rier§_:

10 lmra any Iy]?)c ol'li'ai`lic, including internal Protc)cnl (“ll)""i:`_ Addiiionally, because N'l` dues not

compels WiLh carriers foi' C`li$toiii€r£. CHr.l'jCl'S LlSiiig the N"J'N do nut usc a computitor’:§. network to

carry transit tral"l`\c:.

`N'[` alleges that Pc:crlc$s infringes mn claims l, 2_, 6 and l l m‘.`tlic 703 P:it\=:.nt, 'l`hc):zc

cliiim.“~‘ Fstait€::

l . .f‘i L\J-:.uti':il 'l`z.i.ndr':ii‘i Nc:l\\'€)i“l€ (“N"I"i\”`) lliiil pi'c\)viili-_~.~‘; transit r;'ii.f'ii<: iiiimiigst
public and private wii'clin¢ and wl.rclc;:s$ carrier iii_‘lwc‘):'ks, coziipri.=;ing:

m lezi§l once Switch fbi Crc)zi.=_c-ci'mnecting each C\f` ai plurality c>'f inpl,lTS m m le,.'i&;l Gr'ir;':
C)l`ai plurality of`i')l.llpuls;

 

".f.i‘i`l`i"..i'm':t l-’i'i'itc'icu| i:'i ii lralii:zi'ni:ss;ion pri)lr_'i<_‘r)l l`cir lh<:. l:';\n&~'ri'li:is;iun nf` leil.a.

H

Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 9 of 23 Page|D #:8817

a ;}ltlt‘nlit_\/ nl"l.anr.lern access ]`n“iints f"or connection to switches ot`a plurality ol"St-lid
public and private Wirelinc and wireless carrier netwtjirlts, said switches including
tandem switclics_; and

a nctwt.irk connecting sain t.n.rit'lern access poian to said at least one switch and
said netwt'irlt' managing the etticiei“it routng of transit tral`l`ic between said
plurality ot`tandern access points and said switch

?.. r`-a Nciirrzil 'l`anticrn thworlt as in claim l, wherein at least one ot`sairt tandem
access points terminates incoming calls to an incumbent l,l"'lC tandem or central
ot'lice_

6. K‘t l"»leutra-tl rl"a.ridern 'l\letworl< as iii claim l, wherein said at least one switch
comprises a soft switch

l }_ A N`entrril '|'anclem thwork as in claim i, wherein said network comprises

fiber transport cable and a pluralityr ol`tiber terminals intorcoimecting said at least

one switch and said plurality of` tandem access points

LEGAL STANDARI]

t.ln¢;ler lictlaral Circuit law, a party is entitled to a preliminary injunction it`it shower
“(l) a reasonable likelihood oi'succcss nn thc merits of its ciaims; ('2) irreparah|c harm it` an
injunction is not gra.ntccl:_ (jl) a balance ot` hardships tipping in its lavor; and {fl_) the in_iunetion'&`»
favorable impact on tlic public iritcrcst. Gi`llclic C',`o. i), [:`rtr:r'gizcr' f'{r)lrt'."n¢tg'.r, Iri'r:.1 405 F`_Ed ljt:i?,
1370 (`Fei_l_ t`fir_ Q{Jll.“i`;i_“ Wl‘iilc no t`actor is dispositive ,»/li'ncrzn.~r.r;nni, Inc, i='_
lilcr)'ne.ro.iantonio t.’orn, fnc'., 239 F.Etl l343, l:l.`$t} (l"*etl. Cir.ZDU l) {..~lirzrt?;'on}_. the movant must
show the first two factors -- likelihood ot" success ancl irreparable harm - t`or an injunction to
issuel l""`ei"iic'nr'cn' latin-rn.-'n§;."r-:,r (_`ui';). v. litem l'V!rcr?l fin 'l, lrrr.'_, l~'ll F.Bd lt'i$§“l, ltillli (l"`er.'l. ('_`_Yir.
ll)l)il`). 'l`lle decision ltd grant a i'>rclirninar}-' injunction is Witltin the sound discretion oi"tl'.ie

district court i-rtna:izrin, 1239 l~'.irl at lEiiti.

 

'“l"ecleral Circuil law applies to preliminary injunction motions in patent cases /lf{yfr:ii
f’ilirn'nirrc'enli'crr.ls, linen v_ `l`i'n')irn.)srm, 2(.)1~'. i"`.`.lt'l l:l:l`_l, .l:i?_‘} n_l (l"ccl. l;.`it'. P.Ul.ll)

9

. Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 10 of 23 Page|D #:8818

ln order to show n rcn:.'uu;-ibl\_r likelihood ni"succcss on |.|ie merits N'l` must show that
(_l `) `NT xviii likely prove that l*er.'.rlcss infringes on thc ‘Tl_`lti patcnn and (3`) l"i'l"`s infringement
claim will likely withstand l“t:ei'less's challenges to the patent. dee iiinnr.on. 229 l".}d at l_“)§tl.
'l`lic infringement analysis is a two~sicp process: first, the court must construe thc claims; second
the constnierl claims are compared to the infringing device Onlrtey, Ine. v. Sunglnss firm fi-ir‘l,
3 lo "__`u'l lElFil, lE'}‘_-? tl"cd_ t`_`ir. `.`;t'it)`_l_`i (Urn'de__v).

Peerlcss claims the ‘?`t)tt ]‘atcnt is invalid on the basis ot`obvioasness. “A j.)atcnt is
invalid l'or obviousness il"dii'l`erences between tl'ic subject matter sought to be patented and tire
prior art arc such that the si_ibjcct. matter as a whole would have been obvious at the time the
invention tva:s made to a person having ordinaryr skill in the art to which said subject matter
pcrtains_"` Mct_'r'ini'ey v. Fi‘rrnk[in Sj)orls, ]nc_, 262 F.:id l339, 1349 (l"`etl. t"§ir. 2001) (quoting 35
l,l.S.tl_ § lt)`_i(a}}_ (")bviousness is a legal conclusion based on underl_\_rin§`-_il findings ut`t`act. fn re
Mettkc, 570 F.Bd l.'i.‘iti, 1353 (l`*'ed. Cir. 2009) (Mefi‘ke}, llriderlj,/in{:tl liretual ct')nsidcrations
include: {l) thc scope and content ot` the prior a_rt', {2') the differences between the prior art and
the claimsJ ('E`») the level oi` ordinary skill in the relevant art, and {4} any objective indicia of
non-obviousness_. such as conninercial success_. long i`clt nectl, and tailurc cl`orlicrs. [n'. at 1359
(citing t.i'rrn'rcrm v. john flaum Ci`o_, 333 U.S_ l , 17-13 (l‘_‘)ti(i)_`},

'l`lie dctcrmirnitic_ai ot`thc likelihood ot`succcss on thc merits nl"a patent claim against an
assertion ot invalidity based oil obviousness also involves a twc.)-sten process: lirst` the claims
are properly ct‘)r‘istrued :uid_ .~';ei"r.ind_ lite claims arc countered to prior nrt. “.f‘t patent holder
seeking a preliminary injunction bears tlic ultimate burden ol`cstablisliing a likelihood of success

on tltc merits W'itli respect to tire patent's validity_” i‘lftoi'nr P}rnr)nn i-‘i(_.ir' 'i=. i"r-!w.'.' ]"fmi"mrtceuticrtt'.r

10

- Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 11 ot 23 Page|D #:8819

t./.“i‘,#l, lee , 566 li`._"ld "DL`)*), lilll_l_§ {Ft:rl. CTir. 30|_`)'9`). “Il" the ttllcnt“,t'l infringer raises a substantial
questionJ o.l"invalidity1 tl'ie preliminary injunction should not isstic.” M. at lUUii-t'l(i. 'l`o raise a
st.il.rstantial question as to a patent’s validity, the alleged intringcr artist show only that the patent
is vulnert-tblt-:l frl. at ltlt]'ti. if that showingl is made1 the iranian shifts back to tlie patentee "to
show that the defense lacks substantial rucr.it." M.

Tlte party opposing the injunction need not show actual invalidity i‘\»ll.llnr':ralf)iiilj,' is the
issue at the preliminary injunction stagel1 while validity is the issue at trial. "l*he showing o‘t"a
substantial question as to invalidity thus requires less proof than the clear and convincing
showingl necessary to establish invalidity it_seli`.’1 ribbon Loborntor:`es v. Arrrjrx l’ilrrrrrnncaatfcm's,
fire., 452 liin 1331, 1335 {I~'cd. Cir. 2006). vl`he party seeking the injunction “must . . , presents
clear case supporting the validity ot` the patent in suit.” fd.

`l'he following analysis is based on only these requirements 'l`berel`orc, because the issues
al the preliminary injunction stage and at trial zu'c distinct, the ittovant’s failure to obtain a
preliminary injunction stage does not necessarily mean that the plaintit`r`will be unsuccessful at
trial_

i\NitI.YSlS

ns noted above, the pirirnaijil advance ot`the N'l"N, as described in the ‘”i'tjtl$ Patent, is to
allow competitive carriers to bypass use of the RBD(_`. tandem network lnstead ot`bcing_ carried
b_v tl'tc R.BU(M` nettvor'l<. transit trat.'l'ic is instead el'lieientiy rooted by the N`l`l`\l from one
cc‘_ut!pctiti`ve carrier to anot']jtet‘. 'i`liis basic initiation t;i‘t`t.l.it: l\."'l'l\l is shown in a diagram, created by

lleeriess but introduced here by N'l` in support of its argument that l"eerlcss infringes

 

 

~ Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 12 of 23 Page|D #:8820

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

2a ' pEEd£S l

F*eedess Nemo-rk Conf»demtat

Tha diagram displays four options for rotating traffic from Carrier #I to C`zu'rter #2: the
lI,EC (RBOC_), a direct oormeetit')n, Nontral Tandem (tt~zittg the `NTN), and Peerleas. As clearly
Sl'town, in the context oi" routing trem$it trai`f“tc, the 'NTN has exactly the Sat‘nt: function as the
R_BOC/ILEC tandem network indeed NT states in its discussion of the diagram “iftwo carriers
cannot mae a direct oortrtt:t;lion between titern, the traffic would have to bo transited through tht-`:
lLI'_"`,C’S network in the some manner ctr prot-'t`d€rt’ by Netr!rr:f ]"`rl'mfem.” {NT’S memorandum, DOC
734 at 3) ('eln}'.lha$ia added')_

"[`htt;~'.` the essential development of the NTN is that it allows oontpt':tttive C:trriers Witl'iottt
a t'|trt~et t':onne.t:tion between litem to avoid use o.(tlte R_BGC` network to complete Cttll$. ThiS is

al$o apparent from NT`a arguments in ita written suhmi$e»lon$, ita presentations at both hearings

. Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 13 of 23 Page|D #:8821

and t`r‘oin the "Hlit i-*atent itse| |`\ `l`|`lroughout, N'l` emphasizes the technical and economic
disadvantages ot required use ol"tl‘re R[BUC network.

lidta'ing, claims construction, l\i'i` argued that the `N'i'l\t`s ability to reduce reiiance on the
R.B()C`.` netwoth Was eentrat to the “?`ilii l-l'at'ent. in that regard, N"l` proposed to construe the
`“FUB l`~'atent t:f|aini l term "‘nianaging the efficient routing oi' transit trailie between said plurality
ot` tandem access points and said switclr" to mean “nianaging transit traffic into, out of and
throughout the claimed network by reducing the customer carriers ' reliance mt the RBUCWLEC`
hetwoo'r."" (_en'rphasis atidccl`]. `i`he C ourt accepted NT’s proposed construction in the order
construing the “'Ft`ltt `i*atent elaims, the Court noted that relevant evidence “rnttst also be
considered in the context o.t' the then state oi‘" telecommunications regarding the dependence Ot`
other carriers on the tt H()C tandem proprietary nctwo.rk.“ (i"`cb. 10, ZtilO, Urder__ p. ‘,F,
l)oc. rt 13'/`.) "t`hc question, thcn, in the obviousness analysis, is whether this concept of`
providing an alternatch to the RIBC)C tandems Was original to the ‘703 Patent or was present itt
prior art~

Arguing that the concept was present in prior art, .Peerless points to various actions
related to thc FCL“s efforts in thc early 1990s to increase competition in the telecommunications
marketplace Specifieally, in April 1993, telectitnrrinnieations carrier MFS C`otnrrtunieations
Company, inc. (‘“M'FS"_`_\ presented the th_iC Witii Cornntents [the “MFS C.`ornrnents"`_l soliciting
tire adoption o‘t"`t|ie l-`t:`lC`s oro[_rosal to require LHCfs [or ltl.l»t.`.}t_"s) to provide the tandem signaling
necessary to allow carriers to eorr\pete Witli the R.l`_}»Ot__T in providing modern switched transport to

ltBt'_lt'.` end ot`iices_ l)itlei't'iiris 2 and 3 front the i‘¢ll*`ti Comments indicate the proposed cht'toges.

 

 

Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 14 of 23 Page|D #:8822

 

 

      
  
 

 

 

medicated Traneport D"”‘G’W‘ 2
Expanded interconnection
area Ff...~--.e\ f area
551 ?i\ <'=Y_
new _.-::?::;dli_ l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

End twice
2
Expanded tnterconnecttcn DlAG-‘th 3
thh Tandem Switchlng Cempetltlon
mm mw ,»-1. lite a
...... O/ ii
5`"""° 1 iv x l swing
th Ge¢'ter wife
t-nd Dt'ftea } i End mg
1 l 2

l
Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 15 of 23 Page|D #:8823

'l`hc itt l"`§i l__`.t;urunents .r.rdt'lressed the methods hy Which l_KCs could conr§tect to customers
ol` |tl'i(_)(_`fs to complete calls |Iistorical[y, an lX(_T. could either connect to the ltBOC tandem
ol`lice\ litem which point the call tvould proceed to the i~t.t;it`_)tf end ot"iiec. and from there to the
it`[-lt`)(] enstomer; or the ll<IC could connect directly to the lt.BOt',` end o't`lice, using dedicated
lines, "i`he MF'S comments suggest increasing competition such that IXC`s would not have to relyr
on itBOC lines to reach the ltl"i(`.)(lf’s end offices lnst'cad. theyr could use third-party carriers,
known as Cornpetitive nccess Providers {“t_fAPs"`)t At the time of the lvlt"§_~`» C`.omments, CAPs
could provide only di.rcct*trunked transport (i.e,, transport on dedicated lines) to either the R_HDC
tandem or the RB(MI end otiice. By contrast, R_BOC could provide either direct“trunl<ed
transport or switched transportl This situation is shown in lliagram 2 above Non‘switclted
connections maintained by the ltt-?»OC are shown in bold solid lines; .RBOC-switchcd transport is
shown in double solid lines (laheled "`comnion transport”); and dedicated CAP transport is shown
in dashed lines its shown, t.`..»’tl’s could not provide switched scrvicc.

"l`hc ivtFS C_fomntents proposed the network depicted in i)iagram 3, Diat_rram 3 adds a
Cr‘ti" tandem office at the top center ot`thc diagram. 'l`hc CAP tandem office is connected to
multiple `t`)t(ffs via CA`i’ dedicated transport lines. it is also connected to the RBOC end offices
via switched tre-aisj_:)ortl 'i"hus, il` an lXC lacks a direct dedicated connection to an RHOC,‘ end
oi`ticc, the l;‘t`til can use either the RBDC tandem ot`tice or the CAi-’ tandem office to complete the
call '1`i:rus_. under the system proposet'l in the MFS (…`orrunents7 terle would compete with tire
ltl_tt`_)t"_'s in the provisit'.ut nt` raru'lem-switched service to lilit`_ltf cod ol"t'iees.

in i‘.i`t§lst_, the i`-`(_`ft`_`f issued the 511-141 'l"ran.sport illiase il finder ("‘l"hase l`l t)rdcr"), which

required l.l_:`.t`js to provide t`_it»\i’s, D¢Ct§s and end users ivi th the signaling information necessary to

iii

 

 

. Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 16 ot 23 Page|D #:8824

provide lande-tit swittj:hing, as suggested lay the l\/ll*`l‘i (_`.ot‘c‘in']ettt:§;. Fl`he i"'*h:-tsc il filrdcr allowed
third parties, such as t_\`.i-"t.l’§i, to "`carr_v traffic ot` multiple l§'{t_".s from l..i:it"`_` end oflices to their own
tandems1 switch the traffic at that point, and deliver the tr.'.‘t‘fiie to the appropriate lXC_" {l*hase ll
(_)'tdet‘ ii l .) Fl`he order `“openfedi the door to third parties to provide competitive tandem-
switching services” flat at '§l 2.)

'l`hus, the concept of t::\rovidinpl competition to RBOC tant'lein switches by enabling1
carriers to bypass those illicle tandem switches is found in prior att. indeed the .i"CC envisioned
nearly identical benefits from the Phase ll t`)rder as l\l'l' foresaw ‘with the l\lTl\l and the
"'i'tlB l"atent; increased competition, rcctmological innovation and improved network reliability

N"l" argues that the Phase ll t'lt‘der is not relevant prior art because the problem addressed
in the order is distinct from the problem addressed in the "i'tltt Patent: the l994 l’hase ll Order
was concerned with creating an alternative to l{l:"lte`li_`l tandem switches in connecting lltt;ls to
lthth end oftiees; the ‘708 Patent is concerned With creating an alternative to RBOC tandem
switches to connect competitive carriers to other competitive can'iers. l-loweveel in both the
1994 Phase ll Order and the ‘Tl)li Patcnt, the goal is to provide an alternative to using the l{lTlOC
tandem switches itt both et`ise!-;1 the solution is to route calls through an alternate pathway in
one ease, the CAP ttitttdcrn; iri the other_. the l\"l'l\l.

l`~l'f argues that the l-"hasc ll Order merely provided for the substitution ofone tandem tier
another ‘ spccilicall_v, it replaced the li_li(.`l(_`. tandem with the C.Z.'-\l;* tatnletri. N'l` points out that
the l\»`ll".‘_"i t`_ltjittttttetits stale that the prr.ipnsed changes will "al|ow[_"} a ct`ut‘ipc'titor to install its own
tandem switching_.'p capacity and thereby aggregate traflic on their facilities ns efficiently ns rita

fslic lRBO(-:l 5{'3’*1’-" H"F“'-`" (-l\’ll"`i*-"' C-"C-‘lllfll¢`tli$ fit il 5) tt*-lt"tphasis in N'.l` n'ierno). lr"leit.her the lvll"S

lo

Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 17 of 23 Page|D #:8825

t_fornn'ient's nor the li‘liast: ll C)i‘tlet', i*ll` t'it‘gtttrs, disclose a net‘»-’t'orlt ‘°tttanttgitii;t lite et`iicicnt routing
oi` transit trat`lic” as the ‘7[).':§ patent does. l-~lo‘.P\/e\,'cr1 as noted above, this “et"l`teient routing"' was
oonstruet_i_, in accordance Wi‘t'lt l\l'i"s proposed elairns construction as reducing the customer
carriers’ reliance on the lt.i*~}t)t.?i’tLtiC networlt. Under this construction, considered in context,
the system promised by the l`vtl"`t"i Conirnents and implemented by thc Phasc ll t)rt'ler docs indeed
provide l`ot" the “el"iioit:nt routin*t:",l ol` transit trai`iie" as set out in the "'.-’t)i?. Patcnt, because the
Phase 11 tirch allows carriers to reduce reliance on the RBOC tandeins,

Ft,tnhetntorc, N'l` has equated the sewice provided by the NTN and the RBUC tandem
switches l\l't' states in its brief that “it` two carriers cannot use a direct connection between them1
the traffic would have to be transitetl through the l`I_,Et`,"s netwt.irlt fn nbc some manner ns
provided by Nearml 'f'r.rnn'em.“ Thus, while NT asserts that the Pliase II Ortler interer substitutes
one tandem for another, in that sense, the ‘7{)8 Patent merelyr substitutes the N"l'l\l for the RB(`JC
tandem. To the extent that the network described in the ‘708 Patent is an alternative to the
Rl.“lUC 'teutcletn. network, it is proposing nothing new_

l-lowcvcr, accepting t`or the moment NT`s position that the system described in the "i’t)tt
l’atcnt is distinguishable t`rorn the arrangement proposed in the M`l'~`ti C`,`ornments that is, the
".F'OR l’att:nt proposes to bypass the l{i§itr_l(.f tnndcrns in eonneoting oompetilive Cttrriers_, whereas
the lvll"`$._i t_`lomnients propose to bypass the R.lit)t`_`. tandems in comiecting, a competitive carrier to
the R_BCIC end oliict.l the question becomes whether this distinction is material n comparison
nl*` t}iagranis 2 and 3 ironi the lvl'l*`.""s` t.`itjii'nrnents W‘itli l'i`igtn'es 9 and l l oi' the ”itlli l-"atcnt reveals
marked similarities in both initial stt'n:__',cs (_i.e,1 l.`)iag;rtnn 2 and i"i_n`urt: 9), multiple competitive

carriers arc connected to one or n'torc i,l£C tandem switches ln both post-nnplenietit'tttion

17

 

 

Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 18 of 23 Page|D #:8826

depictions (`_i.c._. i_`Jittgt'ain 3 and l"ig,tu'c l l}, the competitive carriers have made connections to an
alternative interttiediary the C,`r\l"* tandem or the ';\~t'"l"'t`\l. `l`hus. the two sets ot`diagrajnt$ are
sc.hent;-ttit_'all)r ct]ttivaleut. in both t.`.Jiat_iran't 3 and l"ii:',urc l l5 the competitive carriers are
connected via the itt`i()t.`] tandem system and through an alternative connection - either the CA.P
tandem or thc ll‘~l`['t`~ld

Adtnittedl};, there is no suggestion in the MFS Comnients that the two i`th`s in t)iatgrarn 3
Wnuld omitted via the (.TAP: the comments concerned connecting to RBCI»C end offices But as
N'i` admits_t the problem ol` interconnecting a multitude ot` competitive carriers did not exist at the
time ot" the t\/ll".‘S {.Tornrnetits in l‘)F)B; the proliferation of telceonttnttnieation Carriers did not
begin until at`tcr iil'§lti. Thus, the question becomes whether a person ot` ordinaryr skill, looking at
Diagrarn 3 ol` the lle"lS Cornrnents, post- l 996. would realize the possibility that two competitive
carriers in `l`_tiag,rani 3, thc two i}{Cs - could connect via a tandem other than the RBOC
tandem specifically1 the t`fJ/-\`l’_ There is a significant possibility that a person ot` ordinary skill
would lind this to be obvictts. 'i`l'tat person would know that competitive carriers often rely on
R_Bt`)(f! tandean to carry transit traffic between thet'o. rt person oi`ordinaij,r skill would sec that
Diagram 3 shows both lX`Cs connected to the RBOCI tandem las in Figurc 9) and that both l_X.Cs
were connected to the CAI’ tandem (as all competitive providers are connected to the l`~i"l"l‘~tl in
i"ipure l i`). indeed, l-*e.erless’s expert', lvliehael Starl<cy, testified that the connections depicted in

il)iag_ratn _1 t~.=ottld allow the t\-vo i."t't_"s to connect to one another. ('i"`i'. at E`~tii’-t`_ll'i."} `i`his testimony

was crct"lilj)le and persuasive '['litts__ it is ohvit;n.ts, pursuant to lite criteria set out ttl}ove, that the

C_'..f`\l'* tant.len'i could provide an alternative to the l.'l"`,{:i tandem in connecting the lj{t.,`$,

iii

 

' Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 19 ot 23 Page|D #:8827

iiurtl"rerr‘t”rot'e_. l’eer|css has pteseni.et'l evidence that at least two cortt]i)anies provided this
service t.iel'ore the 703 l"’aient"s l’riot'ity date, l\’ita'eh i, Q(iill. Spt:t:ilioally, Detettdarit
_lohn i'la.t'nic-le suhr'nitted a declaration that a cot'npany he founded in i996,
i"ocal C$onrmttnications t‘“i~`rictr.l"), uttered tandem-switched services lot wireless providers
acting as an intermediary delivering corrimunieatiot'rs traffic from these Witeless providers to long
distance carriers ii`ocal’s t:nident»switched access services acted as an intermediate switch
between two other cnrriers, all within the same .Lr-’t.'l"A , thereby providing an alternative to tlrc
itittliC/`lLEC networit. Barnicie‘s declaration states that Focal provided these services as earlyr as
1999 i‘ecricss also submitted tire declaration ot`ltohert filterinle1 which n;raltes similar
averments S.hcrloclt states that he is Vice President ot` Errgineering t`or iowa i‘\ietworltr Services
("`ll\lS“_l. il\lS_. according to Sherloei<, provided tandem-switched access services that “eliminated
reliance on R`BC>{:I tanderns l`or long distance calls to and t`rom” independent carriers in iowal
{_Slrerio~cit l`)ecl. at ii 4.) By 2000. Shet‘loclc statcs, lNS provided itranATA services “to
exchange calls between wireless carriers and [CLECs], between Cl_.i:`.C.s and l}tCs, and between
wireless carriers and lXt].s, with the l.AT:\s."` (ld, at ‘|[ 6.)

l"~l"l" does not refute the substance ol' this evidence hut, rethert argues that the Cottt't should
consider neither declaration because they are not supported try documents demonstrating the truth
ot'thc assertions concerning thc tandem switching services allegedly provided by l'.~`oca| and l`i\iSl.
i\i'l`=s ;'ii‘tjita'nent is not pet‘sut:tsive. l;ittn'ticle`s declaration is consistent With his testirnotn,r during
thc prelilnizt:-tr_v injunction heat‘it`r§gl ldarnie.le testitiet`l that l`*`oea| “c¢jinrtccted to Wire.iess telephone
companics` switches and . _ _ too.l\r various t.`ornis ot` tra:tiic . . _ and exchanged those calls with

li;.nrg, distance carriers . . _ ." ("t"r_ at .`>tt".i.} Counsel t`or' N`l` had the opportunity to cr'oss-ertt-iminc

lF)

 

 

 

 

. Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 20 of 23 Page|D #:8828

Bnrnicle shoot this testimony `out chose not to. l\.‘oi', as noted ahovc1 has N'l" oi`l'ered. any written
argument against the substance oi` .lit-u‘niclc"s assertions1 'l`hus, his statement in this testimony
and his declaration stand unrehutted and arc credil'ile and persuasive Sitnilarly, Sherlnc|<`s
averment that .il\i§`i provided a similar service is Cot't‘t')l“)otatcd by a district oottrt opinion
discussing local transit traffic provided by ll\lh`. .f`>'ce literal fcth Irtdeperir!enr i"efephone i-'lit.r'ri v_
iowa i.)'fiiiti`e.r fia‘., iii-15 l". Sttpp. 2d 79?, ?5}'.:) (S.D_ iowa 2005).

In sumiriary, considering the scope and content of prior art and in comparisonl to the ‘7(.]8
`Patcnt, the concept oi`providinp,‘ an alternative to RBUC tandem switches is clcarly present iri the
prior art. "l"he lv'll`~`H tfornrnents and Phase il Order establish that the prior art included use ol`non-
li.i:iOt`,` tandem switches to compete with Rl€it")(l tandem switches in the routing of calls from
competitive carriers to R`FiOC end olilces. lt is also apparent that other non~lilitJC
t'clecomtntmication companies tvere providing local switched transit service prior to EDUO.
lndeed, considering the limited evidence presented to the Court, it appears this practice may have
been solticwltat conrtrton.

Fuithcrtnore, Pcerless`s assertion that the "',"Uii Patent’s claims “rlo not represent
invention ot" an y ol` the claimed network components or their arrangemcnt_, including without
limitation: the tandem switch, the soft switch, usingl a soft switch as a tandem switch, fiber optic
facilities transit trat"iic switches together, or even thc concept ol"a non-`Rl`i()(`_f alternative tandem

services prt)‘.-'lder" t`l’ect‘icss C`l<)sing .*`trglimcnt l"ir. at P.) is tmt'cbttttet`l. i\i'otah|_v, hi"l` does not

2 t_l

 

, Case: 1:08-Cv-03402 Document #: 225 Filed: 03/30/10 Page 21 of 23 Page|D #:8829

corncnti that the s|ieciiic arrtn‘igci'i‘ictjit ol` the netwtjitl< ci_itnpt‘_)ncnts is Wortlty of patent pro'tectilot‘i."l
lnst<=:atl1 N`[` asserts that tito purpose ol` the :'r'i)ti l’atent is to provide an alternative to the RBOC
nctwot'lt; “'l`lio ii'nn‘ivation ot`t.hc l_sic] l‘~leutral 'l`andem`s ?tli‘.l patent lies in the way in which
tl‘icse components l:‘twitches1 f'i her optic cal.iles, ctc.] are put together in an architecture that
performs a specific function -~ efficiently renting transit irtiUic' as on riii‘erneiive to lite
li?ll()t`.‘/ILEC.' nerwnrir__ as required by the elairns at issue." (NT Reply t`llosing Argument Br. at 3}
(_ emphasis added). B\ut this is indistinguist'iahle ;t`rorn prior an, as discussed above “[T]he
cfticicnt routing of transit trailic" means no more than providing an alternative to the RBOC
rie.tworlc_

l‘~l"l` argues that the *T’Uli Patent is innovative because it first identified a set o.t'problems
With rel ying on the R\BOC tandem systern: competitive carriers Were either forced to make a

nom her t)l'iticiif'iciettt connections with the l{iiOC tandem s§i'stcrii {tht: disadvantach oi`Which

 

have been discussed) or to establish dedicated connections between themselves lite ‘708 l’atent
claims to solve this problem l);r allowing all carriers to connect directly to the N'l'l\l, at one
location, thereby eliminating the need for this tangled web oi`connections_ But this problem and
solution are as old and as simple as switched traffic itsell`. its noted in the initial discussion ot`
switched and non-switched networlts, the problem ol`an increasing number oi` end users (or
carrier networks_) that all need to connect to one another is solved 'oy the use ol`a switch -- or, in
thc case ol'conncctiotl£l between networl<s, a tandem '.it=.=itci'i. rlite "7()3 Pt\tent essentially

proposes the same thing‘. a t:-t.ndcm switch (_or ncnvorlt ol` such switcl')es - l‘eer|css accomplishes

 

7i~~l'l` argues that the l`~l'l'l\l routes traffic in a “'t`undamcntall;tr different Way.” (Nl liepl_v
C'.'losing .r"trgtlinent at _‘:i.) llo\i'.'cvei', i'tot-v'i`lerc does N'l` specify how the 'er"l\l’s routing ol1 transit
tral`i`ic is ’r`endaincntall},' di t`l`erent. other than the l`act that `N'l" is not a .RBC.`}C or [l_,ijC.

._)l

4..»

 

- Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 22 of 23 Page|D #:8830

the same result With a single switchl that connects to all customer carrier networks tl'ic.rehy
allowing them to avoid establishing direct1 dedicatet'l connection to one another

i~'inally, the “any objective indicia ofnon-obviousnch such as commercial succcss, long
felt riced, and failure oi'others“ must he considered Metlke, 579 l"...'id at 1353 i\l"f` argues that
its conu:ncreial success indicates that the `N'fl\l could not have been obvious `l`his argument is
not convincing for purposes of award ing preliminary injunctive relief ftc l'~l'l' notcs, the
legislative change that led to the proliferation of competitive carriers occurred in 19)96. "l'“hus_, the
opportunity for the N’fl‘~i or something equivalent to it., according to l\l'l"s own reasoning, would
only exist at a sufficient time after l996 when competitive carriers could he established
furthermorel as discussed above, it appears that other companies_, streit as l-`ocal and \[NS_, have
been offering services similar to those offered by N'l`, though perhaps not on as large a scelo. in
any casc, this factor is significantly outweighed by other consideraticns, including the scope and
content ol"thc prior art and a comparison ol`the ‘7()3 f’atent to prior a:rt, discussed above.

ln summaryl1 for the abovc~stated rcasons, the ('Iottt‘t finds that .Pccrless' has Sl‘iowrl the
*YDH ll»"atent to he vulnerable due to obviousness and has, therefore1 raised a substantial question
as to the "703 Patcnt’$ validity N'I` has not shown that iicet'less’s challenge to thc "7f,l8 I’ate.nt’s
validity lacks substantial mcrit. 'I`herefr.ire_, N'l` has failed to meet its braden o'fshowing a

likelihood ofsuccess on the n'ierits_1 and its motion for the issuance ofa preliminary injunction is

 

 

~ Case: 1:08-Cv-O3402 Document #: 225 Filed: 03/30/10 Page 23 of 23 Page|D #:8831

dettict'l_ Becausc tltc t`_fourt linda that l`-l`i' has not shown a likeliho<.id o'l' success on die mcrits, it
is unnecessary to address the other l`actors considered itt the issuance of a preliminary injunction.“
C.'ONCLUSIUN

For the l`orc"oin reasons N'T`s motion liar a relitriinarv in'unction is tlctiied.
is i . _l

t

:,.-
i
\

.» l `\

{" j f \`\` ‘-."l`[ z
D'd*“~`df ._Jifz§"‘“""i‘f /`_*‘ij_§i_@_/p_ u\?l.i _.‘_ -* 1 L#L~t_va-"`é;“t
" JC) W. £}ARR,Al-l
Un_it d States l)istrict Court lodge

 

 

8l_-lven it`this were not so, N'l" has also failed to meet its burden with respect to the second
showing required l`or the issuance ot`a preliminary injunction, irreparable harm »- or inadequacy
of a legal remedy l\l'l` argues that it will lose_ without a preliminary injunction
and that Peerless will not have sutliciettt revenues to pay these damagesl This argument is
unpersuasive tbr two reasons: ( lft NT‘s claimed damages are unsupported in the rccord‘, and
t"?.) :"~l'l"s claimed damages arc contradicted by ll'“~l'l".s assertions regarding Peerless`s potential
losses were art injunction lo issue ll'\l'l` argues that only“ ot`Pecrless`s revenues or

over eight months. entries l`rotn the allegedly infringing serviee. This amount

does not support a loss to l\l'l` of_ het`ore the time of trial in Scptcrnber RUitl.

t""inally, it` it were necessary to reach the question ol`lhe public interesn protecting valid
patent rights must be balanced against ensuring l`air competition Cotnpetition in the
telecotnmunicatiotis market Fr)r transit trai"tic is i_n the public interest since it produces lower
prices and a higher level ol` service to consumers

l"~.}
.J J

 

